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CORPORATE RESOLUTION

A meeting of the members of AT EMERALD, LLC, a Nevada Limited Liability
Company, having been conducted on March 3, 2014, the following resolution was passed:

WHEREAS, itis in the best interests of AT EMERALD, LLC, aNevada
Limited Liability Company (the “Company”) to file a voluntary petition in the
United States Bankruptcy Court, District of Nevada, pursuant to Chapter 11
of Title 11 of the United States Code;

NOW, THEREFORE, BE IT RESOLVED, that ANTHONY THOMAS,
Managing Member of AT EMERALD, LLC, a Nevada Limited Liability
Company, shall be and is hereby authorized and directed to execute and
deliver all documents necessary to perfect the filing of a Chapter 11
voluntary bankruptcy case in the United States Bankruptcy Court on behalf
of the Company;

BE IT FURTHER RESOLVED, that ANTHONY THOMAS, Managing
Member of AT EMERALD, LLC, a Nevada Limited Liability Company, is
authorized and directed to appear in all such bankruptcy proceedings on
behalf of the Company, and to otherwise do and perform any and all acts
and deeds and to execute and deliver all necessary documents and
schedules on behalf of the Company and as necessary in conjunction with
the Chapter 11 proceeding; and

FURTHER RESOLVED, that the Law Offices of Alan R. Smith be
retained as attorneys for the Company to represent it in its Chapter 11
proceeding.

DATED this O day of March, 2014.

AT EMERALD, LLC
a Nevada Limited Liability Company

 
  

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